Case 1:17-cV-03629-I\/|.]G Document 1 Filed 12/06/17 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

NORTHERN DIVISION

ANASTASIA KELESIDOU *
Agios Antonios 174
BaSiIika, Thessaloniki T.K. 57006 *
Greece

7\'

Plaintiff

v. * CIVIL ACTION NO.

BALFOUR BEATTY CONSTRUCTION, *
LLC

3100 McKirmon *
Dallas, Te)<as 75201

SERVE ON:
CSC - LaWyers Incorporating
Services Company

7 St. Paul Street *
Suite 820
Baltimore, Maryland 21202 *
Defendant
‘k
‘k * * ‘k ‘k * * ‘k 'Jr `k * 'k %'

COMPLAINT AND DEMAND FOR TURY TRIAL
Comes now Anastasia Kelesidou, Plaintiff, by and through her attorneys,
Raymo'nd L. Marshall and Chason, Rosner, Leary & Marsha]l, LLC, and hereby Sues
Balfour Beatty Construction, LLC, Defendant, and States:
PARTIES, IURISDICTION AND VENUE

1. Anastasia Kelesidou (”Plaintiff") is a Greek citizen and permanently resides

 

Case 1:17-cV-03629-I\/|.]G Document 1 Filed 12/06/17 Page 2 of 6

in Greece.

2. Balfour Beatty Construction, LLC is a Delaware corporation With its
principal place of business located at 3100 l\/lcl(innon, Dallas, Te><as 75201 according to
records from Maryland's Departnient of Assessment and Ta)<ation.

3. This Court possesses subject matter jurisdiction pursuant to 28 U.S.C. §
1332.

4. Venue is proper in this Court because the tortious incident at issue occurred
in Fredericl< County, Maryland.

5. This Court can exercise personal jurisdiction over Defendant because
Defendant transacts business and performs Worl< in Maryland,' and/ or Defendant,
through its agent, Matthew ]ohn Kirl<, caused injuries in Maryland to the Plaintiff by
tortious acts occurring in Maryland.

UNDERLYING FACTS

6. On or about the evening of Novernber 22, 2016, Theoni Kontos Was
driving her 2012 Honda Ridgeline eastbound on Maryland Route 40. Nel<tarios Cottros,
a Greel< priest, and Anastasia Kelesidou, a Greel< nun, Were passengers in l\/lrs. Kontos'
vehicle.

7, Matthew ]ohn Kirk, an agent of the Defendant, Was driving a 2104 Ford

F150 pick~up truck and negligently attempted to make a left~hand turn onto Maryland

 

Case 1:17-cV-03629-I\/|.]G Document 1 Filed 12/06/17 Page 3 of 6

Route 40, a two-lane road, in order to travel in the Westbound direction.

8. At all times relevant to this Complaint, l\/lr. l(irl< Was acting on behalf of,
and Within the scope of his employment to, Balfour Beatty Construction, LLC.

9. Mr. Kirl<, however, pulled out directly in front of Mrs. Kontos’ vehicle
and struck her head~on While still in l\/irs, Kontos' lane of travel.

10. Mr. Kirl< Was charged With failing to yield on a left~hand turn and pled
guilty to that offense.

11. Mr. Kirl<'s actions violated l\/Iaryland's boulevard rule, which rendered his

conduct negligent as a matter of law.

COUNT I - NEGLIGENCE/RESPONDEAT SUPERIOR
(Anastasia Kelesidou v. Balfour Beatty Construction, LLC)

12. At all times mentioned herein, Plaintiff, a passenger, acted in a reasonable
and prudent manner and did not contribute to the occurrence complained of in this
Complaint. n

13. On the day of the incident, Matthew john l<irl< and the Defendant owed a
duty of care to rPlaintiff to operate the vehicle Mr. Kirl< was driving in a prudent,
reasonable and safe manner.

14. By failing to pay proper attention, failing to yield the right~of~Way, and by
driving on the wrong side of the road, Matthew ]ohn Kirl< and the Defendant breached
the duties of care owed to Plaintiff.

15. Matthew ]'ohn Kirk was otherwise negligent

 

Case 1:17-cV-03629-I\/|.]G Document 1 Filed 12/06/17 Page 4 of 6

16. As a proximate cause of Mr. Kirl<'s breaches, Plaintiff was severely injured.

17. Matthew ]ohn Kirk's breaches of the duties of care he owed also
proximately caused Plaintiff to incur past, present, and future medical expenses
including, but not limited to, hospital, surgical, pharmacological, and rehabilitation
expenses, including the cost of a future hip replacement surgery.

18. Matthew ]ohn Kirk’s breaches of the duties of care he owed proximately
caused the Plaintiff significant past, present, and future pain and suffering due to her
injuries, Which include, but are not limited to, surgery for a hip fracture and, almost a
year later, surgery for a hip replacement, daily pain in performing activities of daily
living, requiring elbow crutches to stand and wall<, taking pain killers in order to address
her severe pain, unable to live at her home because she requires daily care, unable to
drive, required to undress in front of strangers in order to undergo medical evaluations,
nightmares, lack of mobility, embarrassment humiliation, and other life-altering
damages

19. Matthew ]ohn I<irl<’s breaches of the duties of care he owed proximately
caused other economic and non~economic damages.

20. At all times relevant to this Complaint, Matthew ]ohn Kirl< Was an agent of,
and / or employed by, Defendant Balfour Beatty Construction, LLC.
21. Matthew ]ohn Kirl<’s actions were negligent and Were a proximate cause

of substantial, serious, and life-long injuries to the Plaintiff.

 

Case 1:17-cV-03629-I\/|.]G Document 1 Filed 12/06/17 Page 5 of 6

22. l\/latthew john Kirk's committed the aforementioned negligent acts or
omissions Within the scope of his employment or agency for Balfour Beatty Construction,
Ll_,C.

WHEREFORE, Anastasia Kelesidou, the Plaintiff, brings this action and seek
judgment against Defendant, Balfour Beatty Construction, LLC, in an amount in excess
of Five Million Dollars ($5,000,000), plus costs, expenses, pre~judgment interest, and post-

judgment interest

Respectf fly submitted

.1§// /l//?r

Raymond L. Marshall #2£5162

Chason, Rosner, Leary & Marshall, LLC
401 Washington Avenue, Suite 1100
Towson, Maryland 21204

Ph.: (410) 494~3700

Fax: (410) 583-7001

Email: rmarshall@crlmlaw.com
Attorneys for the Plaintiff

 

 

Case 1:17-cV-03629-I\/|.]G Document 1 Filed 12/06/17 Page 6 of 6

DEMAND FOR IURY TRIAL

 

Plaintiff, by her undersigned counsel, demands a trial by jury against the

Defendant.

Respect y submitted,

Mllml

Rayliioria L. Marshaii, #251152

Chason, Rosner, Leary & Marshall, LLC
401 Washington Avenue, Suite 1100
Towson, l\/laryland 21204

Ph.: (410) 494~3700

Fax: (410) 583-7001

Email: rmarshall@crimlaw.com
Attorneys for the Plaintiff

 

